Case 1:19-cv-01621-MKB-RER Document 73 Filed 09/18/19 Page 1 of 2 PageID #: 95


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                                              PERSONAL FAX: +1 212 208 2430
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September 18, 2019

BY ECF

Hon. Magistrate Judge Ramon E. Reyes, Jr.
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East, Rm. N208
Brooklyn, New York 11201


           Re:      Shandong Shinho Food Industries Co., Ltd. v. May Flower Int’l, Inc.
                    (Civil Action No.: 1:19-CV-01621-MKB-RER)__________________________

Dear Magistrate Judge Reyes:

        We represent the plaintiff, Shandong Shinho Food Industries Co., Ltd. (“Plaintiff”), in the
above-captioned action. Pursuant to Your Honor’s Orders dated August 5, 2019 and August 15,
2019, we submit this letter on behalf of the parties, Plaintiff and defendant, May Flower
International, Inc. (“Defendant”) to respectfully request an adjournment of the mediation, which
is currently scheduled for September 26, 2019 until October 23, 2019. The parties also
respectfully request Your Honor to extend the deadlines associated with the mediation, namely
the deadlines for the parties to submit (a) their respective mediation statements to the mediator
assigned to this case, Kenneth Plevan, from the current deadline of September 12, 2019 to
October 9, 2019; and (b) their Mediation Report to Your Honor from the current deadline of
October 10, 2019 until November 6, 2019. Finally, pursuant to Your Honor’s order dated July
12, 2019, the parties respectfully request Your Honor to further stay the case pending the
outcome of the mediation.

       This is the parties’ first requested adjournment with respect to the mediation. The
requested adjournment is not being sought for the purpose of delaying the mediation. Plaintiff’s
in-house business representatives will travel to New York from Asia in order to attend the
mediation in-person. The parties are requesting the adjournment to allow Plaintiff’s
D UANE M ORRIS LLP
1540 BROADWAY       NEW YORK, NY 10036-4086                                     PHONE: +1 212 692 1000   FAX: +1 212 692 1020
Case 1:19-cv-01621-MKB-RER Document 73 Filed 09/18/19 Page 2 of 2 PageID #: 96



Magistrate Judge Ramon E. Reyes, Jr.
September 18, 2019
Page 2

representatives to obtain the necessary travel visas, and to accommodate the travel schedules of
the in-house business representatives who will attend the mediation on behalf of the Plaintiff.
Prior to submitting this letter to Your Honor, the parties contacted the mediator assigned to this
case, Kenneth Plevan, to notify him that the parties would request an adjournment of the
mediation and to confirm that Mr. Plevan is available to reschedule the mediation for October
23, 2019. Mr. Plevan confirmed that he agrees to reschedule the mediation for October 23, 2019.

          We thank you for your consideration of this request.

                                                      Respectfully submitted,

                                                      /s/ Brian D. Siff

                                                      Brian D. Siff
GPG:slj

cc:       All counsel of record (via ECF)
          Kenneth Plevan (via e-mail Kenneth.Plevan @skadden.com; kenplevan@gmx.com)
DM2\10495325.1
